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                            5
                                                                UNITED STATES DISTRICT COURT
                            6
                                                               NORTHERN DISTRICT OF CALIFORNIA
                            7

                            8
                                  UNITED STATES OF AMERICA,
                            9                                                          CR 05-00375 SI
                                                  Plaintiff,
                          10                                                           STIPULATION AND ORDER
                                         v.                                            MODIFYING CONDITIONS OF
                          11                                                           PRETRIAL RELEASE
                                  RICHARD WONG,
                          12
                                                  Defendant.
                          13                                         /
                          14
                                         THE PARTIES HEREBY STIPULATE AND AGREE that conditions of pretrial release
                          15
                                  for defendant RICHARD WONG be modified so as to terminate his condition requiring curfew.
                          16
                                  All other conditions previously imposed will remain the same.
                          17
                                         Pretrial Services Officer Anthony Granatos advised defense counsel that he has no
                          18
                                  objection to said modification.
                          19
                                         Dated: August 8, 2006
                          20

                          21
                                   /s/ EAN VIZZI                                       /s/ ANDREW SCOBLE
                          22      EAN VIZZI                                          ANDREW SCOBLE
                                  Attorney for Defendant                             Assistant U.S. Attorney
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                          24
                                         IT IS SO ORDERED.
                          25
                                         Dated:    8/15/06
                          26

                          27                                                  NANDOR VADAS, Magistrate Judge
P IE R 5 L A W O F F IC E S
    506 B R O A DW A Y
                                                                              United States District Court
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